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                               UNITED STATES BANKRUPTCY COURT
                                           FOR THE
                                WESTERN DISTRICT OF KENTUCKY

     IN RE:                              )
                                         )
     CAIR HEATING AND COOLING, LLC )                     CASE NO. 23-31622-crm
           Debtor                        )               Chapter 7
     ____________________________________)

               TRUSTEE’S RESPONSE TO HCC CONSTRUCTION, LLC’S
                       MOTION FOR STAY RELEF [DN 293]

              Wm. Stephen Reisz, trustee of the bankruptcy estate of Cair Heating and

     Cooling, LLC (“Trustee”), for his response to the motion of HCC Construction, LLC

     for stay relief in order to terminate subcontracts [DN 293] states he has reviewed the

     motion and the tendered order [DN 294]. Based on the facts set out in the motion:

     Trustee has no objection to the motion being granted and tendered order being entered.

                                                  Respectfully submitted,

                                                    /s/ Wm. Stephen Reisz
                                                  Wm. Stephen Reisz, Trustee
                                                  401 W. Main St., Ste. 1400
                                                  Louisville, Kentucky 40202
                                                  (502) 584-1000



                                 CERTIFICATE OF SERVICE
             I hereby certify that a copy of the foregoing was on January 4, 2024 mailed
     electronically through the US Bankruptcy Court’s ECF system at the electronic
     addresses set forth in the ECF system to all other parties receiving electronic
     notifications in this case.

                                                   /s/ Wm. Stephen Reisz
                                                  Wm. Stephen Reisz
